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          ATTACHMENT 4
    Case 2:15-ml-02668-PSG-SK Document 1413-4 Filed 06/14/24 Page 2 of 7 Page ID
                                         #:52495
            RK1C_PLAYED - Kra PLTF Aﬀirmatives and DEF Counters PLAYED [RED/BLUE]
DESIGNATION            SOURCE                                                              DURATION         ID

  4:24 - 4:24          Kra , Robert 2022-06-23                                              00:00:01   RK1C_PLAYED.1
                       4:24            ROBERT K. KRAFT, first having been
  5:02 - 5:03          Kra , Robert 2022-06-23                                              00:00:07   RK1C_PLAYED.2
                       5:02            duly sworn by the Notary
                       5:03            Public
  5:06 - 5:07          Kra , Robert 2022-06-23                                              00:00:02   RK1C_PLAYED.3
                       5:06      Q. Good morning, Mr. Kra .
                       5:07      A. Good morning.
  6:14 - 6:24          Kra , Robert 2022-06-23                                              00:00:21   RK1C_PLAYED.4
                       6:14            You're currently the principal owner of
                       6:15            the New England Patriots team of the National
                       6:16            Football League. Correct?
                       6:17      A. Yes.
                       6:18      Q. And you acquired ownership in or about
                       6:19            1994. Is that right?
                       6:20      A. Yes.
                       6:21      Q. And as an NFL owner, you currently serve
                       6:22            as chair of the league's media committee.
                       6:23            Correct?
                       6:24      A. Yes.
  7:01 - 7:06          Kra , Robert 2022-06-23                                              00:00:25   RK1C_PLAYED.5
                       7:01      Q. Is it fair to say that the function of
                       7:02            the media committee is to advise the commissioner
                       7:03            on the negotiation of television rights?
                       7:04      A. Well, we are partners in that. We work
                       7:05            with the commissioner to do what is in the best
                       7:06            interest of the NFL and our fan base.
  9:03 - 9:08          Kra , Robert 2022-06-23                                              00:00:11   RK1C_PLAYED.6
                       9:03            In connection with your role on the media
                       9:04            committee, have you been involved in negotiations
                       9:05            of agreements concerning --
                       9:06      A. Yes.
                       9:07      Q. -- the sale of television rights?
                       9:08      A. Yes.
 10:01 - 10:05         Kra , Robert 2022-06-23                                              00:00:13   RK1C_PLAYED.7
                       10:01     Q. What, generally, has been your role in
                       10:02           connection with those negotiations? Were you
                       10:03           personally involved? Did you review contracts,

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DESIGNATION         SOURCE                                                             DURATION          ID
                    10:04           proposed contracts? Can you give me a little bit
                    10:05           more --
 10:08 - 10:13      Kra , Robert 2022-06-23                                             00:00:12   RK1C_PLAYED.8
                    10:08     A. I think I was involved in the strategic
                    10:09           thinking and negotiating the specifics of the
                    10:10           deal.
                    10:11           BY MR. MARTIN:
                    10:12     Q. Okay.
                    10:13     A. I didn't review contracts.
 18:07 - 18:10      Kra , Robert 2022-06-23                                             00:00:09   RK1C_PLAYED.9
                    18:07           The Sunday Ticket package, Mr. Kra , for
                    18:08           the entirety of its existence, has been oﬀered
                    18:09           exclusively on DirecTV. Correct?
                    18:10     A. Yes.
 20:22 - 21:01      Kra , Robert 2022-06-23                                             00:00:11   RK1C_PLAYED.10
                    20:22     Q. Would you agree that ensuring a
                    20:23           high subscription price for Sunday Ticket is a
                    20:24           priority for the NFL and its member clubs?
                    21:01     A. Yes.
 29:03 - 29:09      Kra , Robert 2022-06-23                                             00:00:28   RK1C_PLAYED.11
                    29:03     Q. And how is it that oﬀering the Sunday
                    29:04           Ticket product at less than the premium price
                    29:05           would harm the over-the-air broadcast?
                    29:06     A. I think that would devalue our
                    29:07           over-the-air partners' packages. And then they
                    29:08           wouldn't be incented to continue and pay us the
                    29:09           way they pay us.
 39:13 - 39:20      Kra , Robert 2022-06-23                                             00:00:29   RK1C_PLAYED.12
                    39:13     Q. Have there ever been any occasions in
                    39:14           which the Patriots have been unable to find a
                    39:15           broadcaster willing to carry a preseason game?
                    39:16     A. No.
                    39:17     Q. Are you aware of an NFL team that has
                    39:18           been unable to find a broadcaster willing to
                    39:19           carry a preseason game?
                    39:20     A. No.
 39:21 - 39:24      Kra , Robert 2022-06-23                                             00:00:16   RK1C_PLAYED.13
                    39:21     Q. Do you think, Mr. Kra , that there is an
                    39:22           NFL team that would be unable to find a local
             Plaintiﬀ Aﬀirmatives     NFL Counters                                                            3/7
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DESIGNATION         SOURCE                                                              DURATION          ID
                    39:23           broadcaster willing to broadcast its games in the
                    39:24           absence of a national or league agreement?
 40:02 - 40:02      Kra , Robert 2022-06-23                                              00:00:03   RK1C_PLAYED.14
                    40:02     A. I don't believe so.
 44:15 - 44:18      Kra , Robert 2022-06-23                                              00:00:08   RK1C_PLAYED.15
                    44:15     Q. Would it be fair to say that, from your
                    44:16           perspective, a nonexclusive deal for Sunday
                    44:17           Ticket is a nonstarter?
                    44:18     A. Yes.
 44:19 - 44:24      Kra , Robert 2022-06-23                                              00:00:11   RK1C_PLAYED.16
                    44:19     Q. Sunday Ticket is oﬀered non-exclusively
                    44:20           outside the United States. Correct?
                    44:21     A. Right.
                    44:22     Q. For example, in Canada?
                    44:23     A. Well, anywhere in the world, on my
                    44:24           understanding.
 45:01 - 45:07      Kra , Robert 2022-06-23                                              00:00:30   RK1C_PLAYED.17
                    45:01     Q. And what is your understanding as to why
                    45:02           it is oﬀered non-exclusively outside the United
                    45:03           States?
                    45:04     A. Well, look, we want them to do as well as
                    45:05           they can, as long as it doesn't hurt our -- I
                    45:06           mean, Canada, Mexico, Germany, England, India,
                    45:07           none of them have franchises.
 45:08 - 45:21      Kra , Robert 2022-06-23                                              00:00:35   RK1C_PLAYED.18
                    45:08     Q. And Sunday Ticket has always been oﬀered
                    45:09           solely as a bundled package of out-of-market
                    45:10           games. Correct?
                    45:11     A. Yes.
                    45:12     Q. There has never been an opportunity to
                    45:13           purchase a single game individually. Correct?
                    45:14     A. Correct.
                    45:15     Q. There has never been an option to
                    45:16           purchase all of a single team's games, like, say,
                    45:17           all the Patriots games, separately. Right?
                    45:18     A. No.
                    45:19     Q. Never an option to purchase a particular
                    45:20           division or the AFC versus the NFC. Correct?
                    45:21     A. Correct.

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DESIGNATION           SOURCE                                                              DURATION          ID
 45:22 - 45:24        Kra , Robert 2022-06-23                                              00:00:08   RK1C_PLAYED.19
                      45:22     Q. Do you recall any discussions concerning
                      45:23           any of those options within the media committee
                      45:24           during your tenure?
 46:02 - 46:09        Kra , Robert 2022-06-23                                              00:00:45   RK1C_PLAYED.20
                      46:02     A. I don't remember. I mean, it probably
                      46:03           came up. I know that I would feel strongly
                      46:04           that -- I mean, selfishly, I mean, I guess, if
                      46:05           we -- it would be good for the Patriots, but I
                      46:06           don't think it would be good for the league.
                      46:07           And I believe that was the mood of the
                      46:08           committee whenever it came up. And leadership at
                      46:09           the NFL, the two commissioners I have dealt with.
 47:02 - 47:05        Kra , Robert 2022-06-23                                              00:00:07   RK1C_PLAYED.21
                      47:02           Do you have any understanding as to
                      47:03           whether DirecTV suggested per-game and per-team
                      47:04           options?
                      47:05     A. I have no knowledge.
 48:22 - 48:24        Kra , Robert 2022-06-23                                              00:00:01   RK1C_PLAYED.22
                      48:22           (Exhibit 4, Email dated 7-1-21, Bates
                      48:23           number NFL_1221708 through 1221709, marked for
                      48:24           identification.)
 49:09 - 49:13        Kra , Robert 2022-06-23                                              00:00:22   RK1C_PLAYED.23
     701.1.6          49:09     Q. Mr. Kra , you have been handed a
                      49:10           document marked as Kra Exhibit 4. It is an
    701.1.11          49:11           email chain. The most recent email is from Brian
    701.1.12
    701.1.13          49:12           Rolapp to you and Mr. Goodell, dated July 1,
    701.1.14
    701.1.15
                      49:13           2021.
 49:15 - 49:16        Kra , Robert 2022-06-23                                              00:00:06   RK1C_PLAYED.24
                      49:15           Do you recall receiving this email?
                      49:16     A. I mean, I get a lot. I am sure I did.
 49:17 - 49:20        Kra , Robert 2022-06-23                                              00:00:12   RK1C_PLAYED.25
                      49:17     Q. Do you recall whether you
    701.1.16          49:18           discussed the financial oﬀer from Apple with
                      49:19           Mr. Rolapp or Mr. Goodell?

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DESIGNATION         SOURCE                                                             DURATION          ID
                    49:20     A. I am sure we did.
 49:21 - 50:08      Kra , Robert 2022-06-23                                             00:00:32   RK1C_PLAYED.26
    701.1.17        49:21     Q. And what do you recall about Apple's
                    49:22           oﬀer?
                    49:23     A. It is low.
                    49:24     Q. And why is it low?
                    50:01     A. I don't know. I mean, you are asking me.
                    50:02           I mean, we have lots of oﬀers, lots of things.
                    50:03           We know when we pay attention and when we are
                    50:04           just parrying back and forth.
                    50:05     Q. Okay.
                    50:06     A. I mean, the important thing here is the
                    50:07           commitment and they are interested. The details
                    50:08           are -- you know, we are not aligned.
 50:09 - 50:22      Kra , Robert 2022-06-23                                             00:00:53   RK1C_PLAYED.27
                    50:09     Q. When you say "commitment," did you form a
                    50:10           view on Apple's commitment a er having seen
                    50:11           these deal points?
                    50:12     A. Well, how they look at it, and we have to
                    50:13           bring them around to where we think it is
                    50:14           important and makes sense.
                    50:15           You know, once again, it goes back to the
                    50:16           issue of we are not looking to get multitudes of
                    50:17           people. We want to keep this as a premium
                    50:18           product that doesn't devalue over-the-air TV
                    50:19           product. And we would like to incent them to do
                    50:20           well outside the U.S.
                    50:21           I mean, that is the whole Bible standing
                    50:22           on one leg for me.
 50:23 - 51:07      Kra , Robert 2022-06-23                                             00:00:33   RK1C_PLAYED.28
                    50:23     Q. So when the overview that Mr. Rolapp
    701.1.18        50:24           provides indicates that Apple estimates it can
                    51:01           reach 15 to 20 million NFL Sunday Ticket
                    51:02           subscribers worldwide at some point during the
                    51:03           11-year term, do you consider that to be a good
                    51:04           thing or bad thing?
                    51:05     A. Well, if most of them are outside of the
                    51:06           U.S., it is a good thing. If it is in the U.S.,
                    51:07           my personal opinion is it is too many.


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                                         #:52500
            RK1C_PLAYED - Kra PLTF Aﬀirmatives and DEF Counters PLAYED [RED/BLUE]
DESIGNATION          SOURCE                                                              DURATION          ID
 52:16 - 52:18       Kra , Robert 2022-06-23                                              00:00:07   RK1C_PLAYED.29
                     52:16      Q. Would you like to see a cap placed on
                     52:17           the number of subscribers to Sunday Ticket in the
                     52:18           agreement?
 52:20 - 52:24       Kra , Robert 2022-06-23                                              00:00:12   RK1C_PLAYED.30
                     52:20      A. No.
                     52:21           BY MR. MARTIN:
                     52:22      Q. No?
                     52:23      A. I never thought about it. I don't know.
      Clear          52:24           I don't think so, but maybe. I don't know.
 56:14 - 56:18       Kra , Robert 2022-06-23                                              00:00:17   RK1C_PLAYED.31
                     56:14           Has there been dissatisfaction with the
                     56:15           marketing of Sunday Ticket by DirecTV amongst the
                     56:16           NFL?
                     56:17      A. I don't know marketing, just the
                     56:18           operation of the whole business. Yes.




                          Documents linked to video:
                          701




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